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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 3.1.3
                               Eastern Division

Eva Sarkees
                                                Plaintiff,
v.                                                            Case No.: 1:07−cv−06370
                                                              Honorable Joan H. Lefkow
Kellogg Brown & Root Services, Inc., et al.
                                                Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, May 29, 2008:


       MINUTE entry before the Honorable Joan H. Lefkow:Scheduling conference held
on 5/29/2008 and continued to 6/26/2008 at 09:30 AM. Date by which to answer or
otherwise plead is extended to 6/25/2008.Mailed notice(mad, )




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